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                     UNITED STATES DISTRICT COURT
                 IN THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

PATRICIA ANN FORD,
         Plaintiff,                             CASE NO. 2:15-cv-12926-RHC-
    MJH
                                                Hon. Robert H. Cleland
v.                                              Magistrate Michael Hluchaniuk

ENHANCED RECOVERY COMPANY, LLC,
         Defendant.
________________________________________/

      STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

PATRICIA ANN FORD and Defendant ENHANCED RECOVERY COMPANY, LLC,

through their counsel, hereby stipulate and agree, that the above-captioned action be

dismissed with prejudice. Each party shall bear their own attorney’s fees and costs.

Respectfully Submitted,

By:/s/ Stephen A. Thomas                  By:/s/ Scott S. Gallagher
  Stephen A. Thomas (P43260)                  Scott S. Gallagher
  Attorney for Plaintiff                      Attorney for Defendant
  645 Griswold St., Suite 1360                SMITH, GAMBRELL &
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                      UNITED STATES DISTRICT COURT
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    MJH
                                                 Hon. Robert H. Cleland
v.                                               Magistrate Michael Hluchaniuk

ENHANCED RECOVERY COMPANY, LLC,
         Defendant.
________________________________________/

                  ORDER OF DISMISSAL WITH PREJUDICE

       Pursuant to the parties’ stipulation, this matter is hereby DISMISSED with

prejudice and with no award of costs or attorney’s fees to either party.

SO ORDERED.



                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE


Dated: January 25, 2016


I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, January 25, 2016, by electronic and/or ordinary mail.


                                           S/Lisa Wagner
                                          Case Manager and Deputy Clerk
                                          (313) 234-5522
